Case 2:01-cr-20233-RHC Document 74 Filed 05/24/05 Page 1 of 2 Page|D 95

Prob 35 Report and Order Tenninziting…l’robation! n :
(3/93) Supervised Re|ease 14}: " " '..r g §4 519 r.C
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m {,‘_l:;__ t `
United States District Court
FOR THE

WESTERN DISTRICT OF TENNESSEE

UNlTED STATES OF AMERICA
v.
CHRlS WOJCIK
Criminai No. 210120233-02

On May 13, 2002, the above named was placed on Supervised Re]ease for a period of three (3) years. He has
complied with the rules and regulations of Supervised Release and is no longer in need of supervision lt is accordingly

recommended that he be discharged from Supervised Release.

Respectfully submitted,

.‘ l } , E’ ____:-_`
willie S. Wil:iam§,d?., senior
United States Probation Officer

ORDER OF THE COURT

Pursuant to the above report, it is ordered that the defendant be discharged from Supervised Re!ease and that

the proceedings in the case be terminated

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Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
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Honorable Robert Cleland
US DISTRICT COURT

